                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                                 Plaintiff,   )
                                              )
               v.                             )      No. 07-00187-02-CR-W-NKL
                                              )
LUIS HERNANDEZ-BAUTISTA,                      )
                                              )
                                 Defendant.   )



                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah W.

Hays, to which no objection has been filed, the pleas of guilty to Counts 1 and 3 of the Indictment

are now accepted. Defendant is adjudged guilty of such offenses. Sentencing will be set by

subsequent order of the court.


                                                      s/ NANETTE K. LAUGHREY
                                                     NANETTE K. LAUGHREY
                                                     United States District Judge

Dated: August 14, 2008




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